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 6                              UNITED STATES DISTRICT COURT
 7                                    DISTRICT OF NEVADA
 8                                                ***
 9 UNITED STATES OF AMERICA,           )
                                       )
10             Plaintiff,              )
                                       )
11 vs.                                 )                2:06-cr-234-PMP-GWF
                                       )
12 JONATHAN TOLIVER,                   )
                                       )
13             Defendant, .            )                         ORDER
   ____________________________________)
14
15         The court granted defendant Jonathan Toliver’s “Motion for Appointment of Counsel” (#627)
16 on February 7, 2012, and ordered counsel appointed. Therefore;
17         IT IS HEREBY ORDERED that the Federal Public Defender is appointed as counsel for all
18 proceedings regarding the defendant’s “Motion Pursuant to 28 U.S.C. §2255 to Vacate, Set Aside
19 or Correct Sentence by a Person in Federal Custody” (#626).
20
           Dated this _______
                       8th dayday of February,2012.
                               of February,    2012.
21
           Nunc Pro Tunc Date: February 8, 2012
22
23                                                      _____________________________________
                                                        PHILIP M. PRO
24                                                      United States District Judge
25
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